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Defendants

MARCIANO PLATA , et al.,

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UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
RALPH COLEMAN, et al., }No. Civ S 90-0520 LKK-JFM P
) THREE-JUDGE COURT
Plaintiffs, }
\) JOINT STATEMENT REGARDING
vs. ) DISCOVERY DISPUTE ABOUT
)DEPOSITIONS

ARNOLD SCHWARZENEGGER, et al... ) Date: August 7, 2008
)Place: Courtroom 26
} Judge: Hon. John F. Moulds, Magistrate Judge

)
)No. CO1-1351 TEKH

Plaintiffs, ) THREE-JUDGE COURT
Vs. )
)
ARNOLD SCHWARZENEGGER, et al, )
)
Defendants )

JOINT STATEMENT REGARDING DISCOVERY DISPUTE ABOUT DEPOSITIONS , NOS... CIV $ 90-0520 LEK-JFM, COL-1331 TEH

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JOINT STATEMENT

I. Procedural Background

The central allegations in these proceedings are that California's prisons are
overcrowded and that the overcrowding is the primary cause of violations of prisoners’
constitutional rights to adequate medical and mental health care. Plaintiffs seek a court order
requiring the State to reduce its prison population. Under the Prison Litigation Reform Act
(PLRA), in order to obtain a "prisoner release order," plaintiffs need to demonstrate to a
specially-constituted Three-Judge Panel that "crowding is the primary cause of the violation of
a Federal Right" (here, the rights to medical and mental health care), and that "no other relief
will remedy the violation of the Federal Right." 18 U.S.C. §§3626(a)(3)CE)() and (i). The
PLRA also requires any Three-Judge Panel hearing such a motion to consider whether a
"prisoner release order” would have an "adverse impact on public safety." 18 U.S.C.
§3626(a)(2).

In its July 2, 2008 Order the Court imposed a September 8, 2008 discovery cutoff, On
July 10, 2008, Plaintiffs noticed the depositions of a number of their trial witnesses, including
Governor Schwarzenegger, Robert Gore and Susan Kennedy. | Evenson Decl., Exh. A.
Plaintiffs noticed the Governor's deposition for the Governor's office, and the other depositions
for plaintiffs’ counsel's offices. Jd. Plaintiffs’ counsel indicated flexibility in re-scheduling the
depositions if necessary, and asked defense counsel to propose alternative dates. Evenson
Decl., 44, Exh. B. Defendants wrote a letter objecting to the three depositions and informed

plaintiffs that they would not produce the witnesses absent a court order. Evenson Decl., 95,

Exh. C.

' Plaintiffs initially noticed these depositions for dates at the end of September, but once
the Three-Judge Panel issued its order setting a September 8 discovery cutoff, plaintiffs re-
noticed the depositions for dates within the discovery period. Evenson Decl, 93.

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Il. The Parties Have Met and Conferred About the Discovery Dispute

The parties have met and conferred about this discovery dispute as required by Local
Rule 37-251(b). Plaintiffs' counsel sent a letter to defense counsel regarding the subject of the
dispute on July 10, 2008, and defense counsel responded by letter on July 14, 2008. Evenson
Decl., "4-5, Exhs. B-C. Counsel for plaintiffs and defendants then conferred by telephone on
July 17, 2008 and again on July 21, 2008 in a good faith effort to resolve the dispute at issue in
this motion. Evenson Decl., "6-7. Through the meet and confer process, the parties were able
to narrow the dispute from four depositions to three. Evenson Decl., {7. However, the parties
have been unable to reach agreement with respect to the three depositions at issue in this
motion. Je.

PLAINTIFFS' CONTENTIONS -- OPENING STATEMENT

I. Intreduction

The Coleman and Plata Plaintiffs jointly seek a court order allowing them to depose
Governor Arnold Schwarzenegger, Robert Gore and Susan Kennedy, each of whom is a trial
witness with unique personal knowledge of the events in this case. Defendants have objected
to the depositions on the grounds that it is improper to depose high-level officials. But courts
routinely allow parties to depose governors and other high-level governmental officials where,
as here, the officials were involved in making the decisions at issue in the case or have unique
personal knowledge of matters at issue in the case. See, e.g., Green v. Baca, 226 F.R.D. 624,
648 (C.D.Cal. 2005).

The Three-Judge Panel's July 2, 2008 Order for Pretrial Preparation (Coleman Docket
No. 2859) provides for depositions of non-experts who are identified as trial witnesses, and
other individuals for "very good cause.” (July 2, 2008 Order at 2). As we demonstrate below,
the Governor, Robert Gore (the Governor's Cabinet Secretary), and Susan Kennedy (the
Governor's chief of staff) each have unique personal knowledge of matters essential to
plaintiffs’ case in chief and defendants’ defenses, which falls into three general categories:

First, plaintiffs claim that overcrowding in California prisons causes violations of

prisoners’ constitutional rights to health and mental health care. The Governor and Ms.

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JOINT STATEMENT REGARDING DISCOVERY DISPUTE ABOUT DEPOSITIONS, NOS. CHV § 90-0520 LE K-IPM, CO1-1331 TEH

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Kennedy were instrumental in promulgating and implementing the Governor's October 4, 2006
state of emergency proclamation, which states, among other things, that California's prisons are
drastically overcrowded and overcrowding causes a "substantial risk to the health" of prisoners
and the general public. Evenson Decl., Exh. D. The emergency proclamation remains in
effect, and the Governor's staff remains involved in implementing its provisions for out-of-
state transfers. See, e.g., Evenson Decl., 16, Exh. L. Second, defendants apparently claim as
a defense in this case that AB 900, a measure passed by the Legislature and signed by the
Governor in 2007, will alleviate the overcrowding problem by funding construction of new
prison beds. The Governor, Mr. Gore, and Ms. Kennedy were instrumental in pushing AB 900
through the Legislature, and remain personally involved in implementing AB 900. [Evenson
Decl., {{ 10-19, Exhs. F-P. Third, defendants maintain in this action that releasing prisoners
would have an adverse effect on public safety, but in January 2008 the Governor personally
proposed a budget that would result in the release of more than 22,000 prisoners. Evenson
Decl., § 20, Exh. Q.

Because the Governor, Mr. Gore, and Ms. Kennedy played central roles in identifying
and attempting to address the overcrowding crisis, matters at the core of plaintiffs' case in chief
and defendants’ defenses, there is "very good cause” to allow plaintiffs to take their
depositions.

Il, Argument

Plaintiffs should be permitted to depose Governor Schwarzenegger, Robert Gore and
Susan Kennedy because each is a trial witness with unique personal knowledge of matters
critical to plaintiffs’ cause of action and defendants’ defenses.” Pursuant to Ninth Circuit law,
plaintiffs are presumptively entitled to depose trial witnesses, especially party defendants with

direct knowledge of facts relevant to plaintiffs' claims. See Blankenship v. Hearst Corp., 319

* In addition to being plaintiffs' trial witnesses, the Governor, Mr. Gore and Ms.
Kennedy were also identified in the Legislative Intervenors' Initial Disclosures as witnesses
with discoverable information about "past and present efforts by the State to address medical
and mental healthcare needs in the prisons." Evenson Decl., Exh. S at 2.

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F.2d 418, 429 (9th Cir. 1975) (quoting 4 J. Moore, Federal Practice {| 26.69 at pp. 26-494 - 26-
495 (2d ed. 1974)) ("a strong showing is required before a party will be denied entirely the
right to take a deposition"). "Depositions are the most efficient means of discovery [since] the
exigencies of time are paramount. ... Depositions are also more reliable, as they are taken
under oath, and the deponents' responses are relatively spontaneous." American Broadcasting
Co. v. United States Information Agency, 599 F, Supp. 765, 769 (D.D.C. 1984) (allowing
deposition of head of federal agency).

A. Courts regularly permit depositions of high-ranking officials where, as here, the
officials have unique personal knowledge of matters at issue in the case

Defendants’ sole objection to the depositions of the Governor, Mr. Gore, and Ms,
Kennedy is that they are high-ranking officials.’ But this alone is not grounds for precluding
their depositions. While high-ranking public officials are not normally subject to depositions
in matters about which they have no personal knowledge, a well-established exception exists
for depositions of "top officials who have direct personal factual information pertaining to
material issues ... [and] where the information to be gained ... is not avattable through any other
source,” Green v. Baca, 226 F.R.D. 624, 648 (C.D.Cal. 2005) (permitting plaintiffto depose
the Los Angeles Sheriff) (quoting Church of Scientology of Boston v. LR.S., 138 F.R.D. 9, 12
(D.Mass.1990)).

Thus, courts have regularly permitted depositions of governors who were personally
involved in, or approved, the governmental policies or practices that gave rise to the litigation.

See, e.g., Bagley v. Blagojevich, 486 F.Supp.2d 786, 789 (C.D. Tl., 2007) (allowing deposition

* During the meet and confer process, counsel for defendants first stated that they
objected to the depositions because defendants did not intend to designate the Governor, Mr,
Gore, or Susan Kennedy as trial witnesses. Evenson Decl., 5, Exh, C. After plaintiffs
explained that plaintiffs intend to designate the deponents as trial witnesses, defense counsel
stated that their only objection was that it is improper to depose a governor or cabinet-level
advisors. Evenson Decl., €§6-7. Defense counsel specifically stated that their objection is not
based upon the deliberative process privilege Ud. §7), and accordingly plaintiffs do not brief
that issue here.

Plaintiffs question whether Robert Gore and Susan Kennedy even qualify as "high
ranking public officials” warranting any special Protection from deposition. But even
assuming that they do, they should be compelled to testify for the reasons set forth herein.

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of Governor of Iinois where Governor was either ultimate decisionmaker or involved in
making the challenged decision); Prisma Zona Exploratoria De Puerto Rico, Inc. v. Calderon,
154 F. Supp.2d 245 (D. P.R. 2001) (permitting deposition of Governor of Puerto Rico who
approved challenged actions); Hadnot v. Amos, 291 F. Supp. 309 (M.D. Ala. 1968) (allowing
deposition of Governor of Alabama), Virgo Corp. v. Paiewonsky, 39 F.R.D. 9 (D.V.I. 1966)
(allowing deposition of Governor of Virgin Islands because he was ultimate decisionmaker
with respect to challenged policy).

Courts have also permitted the depositions of other governmental officials found to be
"high-ranking" officials where those officials had some involvement in the challenged
governmental action. See, é.g., Jn re: David A. Kessler, 100 F.3d 1015 (D.C. Cir. 1996)
(permitting deposition of Commissioner of the Food and Drug Administration where plaintiffs
alleged the deponent played a key role in formulating a challenged policy); RTC v. Drumond,
137 F.RLD. 634, 644-45 (S.D.N.Y. 1991) (allowing deposition of the head of a federal agency
"to determine reasons for the decisionmaker's choice -- and by extension, the factors taken into
account by the decisionmaker -- in the absence of ‘formal administrative findings.) (quotation
omitted); Green v. Baca, 226 F.R.D. 226 F.R.D. at 648 (permitting plaintiff to depose the Los
Angeles Sheriff because Sheriff is "final policymaker for the County in setting and
implementing" challenged policies); Adanta Journal and Constitution v. City of Allanta, 175
F.R.D. 347, 348 (N.D. Ga. 1997) (permitting deposition of mayor where one of mayor's aides
‘was responsible for ushering the [challenged] ordinance."); Northwestern Univ. y. City of
Evanston, 2001 WL 743756 (N.D. HI. 2001) (permitting deposition of mayor who vetoed
challenged ordinance and city manager who was involved in drafting a memorandum regarding
the challenged ordinance); Culp v. Devlin, 78 F.R.D. 136, 140-41 (E.D. Pa. 1978) (allowing
deposition of mayor and chief of police); Pension Benefit Guaranty Corp. v. LTV Steel, 119
F.R.D. 339, 342 (S.D.N.Y. 1988) (allowing deposition of agency head because, inter alia, case
"raises novel and complex legal issues of first impression whose resolution will have a

substantial impact" on statutory interpretation and numerous individuals); see also Lederman v.

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JOINT STATEMENT REGARDING DISCOVERY DISPUTE ABOUT DEPOSITIONS, NOS.: CIY 8 90-0520 LKK-FFM, COE 1351 TEH

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Giuliani, No, 98-CV-2024, 2002 WL 31357810, at *1 (S.D.N.Y. Oct. 17, 2002) (noting that
mayor Giuliani's deposition was to go forward).

As we demonstrate below, Governor Schwarzenegger, Mr. Gore and Ms. Kennedy have
all been directly and personally involved in the matters at issue in this case, and this Court
should order them to appear for their depositions.

B. Governor Schwarzenegger has unique personal knowledge of matters critical to
plaintiffs' cause of action and defendants’ defenses

Governor Schwarzenegger is not just the State official ultimately responsible for the
administration of California's overcrowded prisons, he and his top aides have also been
personally and actively involved in the State's attempts to address prison overcrowding.”

Governor Schwarzenegger has personally made public statements about key elements of
plaintiff's case in chief. For example, in his emergency proclamation, the Governor admitted
that overcrowding causes a health crisis, which implies that overcrowding must be solved
before those crisis conditions can be remedied. (Evenson Decl, Exh. D) (California's prisons
"are so overcrowded that the CDCR is required to house more than 15,000 inmates in
conditions that pose substantial safety risks,” overcrowding "has caused substantial risk to the
health and safety of the men and women who work inside these prisons and the inmates housed
in them," overcrowding has resulted in "overloading" of local electrical systems, sewerage

systems, and wastewater systems, which results in "an increased, substantial risk of harm to the

* While the documents produced thus far demonstrate the central role played by the
Governor, Mr. Gore, and Ms. Kennedy, defendants have continued to refuse to produce many
documents in the custody of the Governor's office. Indeed, although this Court and the Three-
Judge Panel have repeatedly ordered defendants to produce additional documents that
defendants incorrectly withheld as privileged (See Magistrate Judge Orders at Coleman Docket
Nos. 2753 and 2805, Three-Judge Panel Orders at Coleman Docket Nos. 2825 and 2862),
defendants have refused to produce the documents, instead filing a notice of appeal from those
orders. Coleman Docket Nos. 2879, 2891. Accordingly, plaintiffs have still not received a full
set of documents from the Governor's office.

Plaintiffs are prejudiced in their ability to bring this motion, and to show the personal
involvement of the Governor, Mr. Gore, and Ms. Kennedy in the overcrowding issue, by a lack
of those documents.

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health and safety of CDCR staff, inmates and the public," and overcrowding has resulted in
increased violence and creates the risk of deadly prison riots.)

The statements in the proclamation are important evidence about central elements of
plaintiff's case: that overcrowding causes a health crisis, and that overcrowding must be solved
before the health crisis can be remedied. Plaintiffs are entitled to know the basis of the
Governor's findings and the alternatives considered. Plaintiffs are unable to obtain this
information from any other source.

The Governor was not just acting as a figurehead when he issued the emergency
proclamation; he continued to be personally involved in meetings and strategy sessions to
identify and address overcrowding problems. See, é.g., Evenson Decl., Exh. E (Governor
acknowledged overcrowding problem, acknowledged engaging in meetings with key players
regarding resolving the problem, stated that "if we don't clean up the mess, the federal courts
will do it for us.”)

The Governor also possesses information relevant to defendants' defenses. For
example, defendants apparently contend that a prisoner relief order is not necessary because
they can just build more prison beds. But the Governor was personally involved in the passage
of AB 900, a statute that was supposed to fund construction of new prison beds and solve the
overcrowding crisis. See, e.g, Evenson Decl., Exh. G (letter from Governor lauding Senate
Republican leader's "leadership in prison reform" and applauding passage of AB 900).
Immediately after signing AB 900, the Governor appointed his Cabinet Secretary Robert Gore
as the manager of the Governor's "Strike Team" to implement AB 900. Evenson Dec., Exh. J
at GOVPRIV001412. Mr. Gore has recounted numerous roadblocks to implementing AB 900.
Evenson Dec., Exh. K.

Even after passage of AB 900 and the creation of the "Strike Team," the Governor has
remained involved in the effort to implement the statute and reduce overcrowding. Less than
two months ago the Governor personally sent a letter to several legislative leaders detailing
progress in implementing AB 900, but emphasizing that further legislation "must be dealt with

quickly by the Governor and the Legislature. We cannot delay, and if this isn't done dy us, it

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will be done for us by the federal courts." Evenson Decl., Exh. F (emphasis in original), The
Governor is the only one with personal knowledge about what additional measures he was
referring to in his letter, what steps he believes are necessary to fix AB 900, how such
measures would impact overcrowding, and whether he, as the ultimate decisionmaker,
continues to adhere to defendants’ position that AB 900 alone will resolve the overcrowding
crisis.

Moreover, the Governor previously charged that the Legislature has repeatedly failed to
act on the Governor's proposals to solve the overcrowding crisis. Evenson Decl., Exh. D at 7-
8. Plaintiffs are entitled to question the Governor, Mr. Gore, and Ms, Kennedy about his
newest proposed legislative fix, which would require quick legislative action if it were to be a
viable alternative to a court order. Again, plaintiffs are unable to obtain this information from
any other source,

Defendants also appear to contend that prison conditions have improved since the
issuance of the emergency proclamation. See, e.g., Evenson Decl., [ 27. But the emergency
proclamation is still in effect, meaning that the Governor maintains that the emergency
conditions persist. Plaintiffs are entitled to question the Governor, Mr. Gore, and Ms. Kennedy
about the factual basis for keeping the proclamation in effect while at the same time
contending (in this litigation) that the conditions have improved.

The Governor also has information relevant to the question whether any "prisoner
release order" that the Court might enter would have an "adverse impact on public safety.” 18
U.S.C. §§ 3626(a\(2). Defendants contend that reducing the prison population would have an
adverse impact on public safety, but the Governor not only agreed to consider releasing
prisoners early (Evenson Decl., Exh, E at E-CDCR_017809), he also submitted a proposed
budget to the California Legislature that, among other things, contemplated reducing,
California's prison population by more than 22,000 inmates. Evenson Decl., Exh. Q at 178.
Although the Governor has subsequently backed away from this proposal, plaintiffs are still

entitled to enquire about the specifics of the population reduction plan. Having offered the

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plan in the first place, the Governor has unique personal information about how the State could
reduce the prison population.

In short, the Governor has "direct persona! factual information pertaining to material
issues" that is unavailable through another source (Green, 226 F.R.D. at 648), and plaintiffs are
entitled to depose the Governor about factual matters at issue in this case as well as about what
measures defendants have considered undertaking to address overcrowding.

C. Robert Gore has unique personal knowledge of matters critical to plaintiffs’
cause of action and defendants’ defenses

Mr. Gore (the Governor's deputy cabinet secretary) has also played an essential role in
addressing the overcrowding crisis, and he personally possesses information that cannot be
obtained from any other source.

As manager of the Governor's Strike team on AB 900, Mr. Gore has been centrally-
involved in the AB 900 implementation process, and in monitoring overcrowding, and has
personally lead a number of meetings with top CDCR officials and consultants on the subject.
Evenson Decl., Exhs. H-P. Indeed, Mr. Gore is in charge of matters identified as being of
"Thjair on fire" importance, including "parole policy emergency regulations, recruiting staff,
marketing RFPs, staffing Facilities, out-of state transfers" and "reducing lockdowns and
movements." Evenson Decl., Exh. J at GOVPRIV001412. Plaintiffs are entitled to question
Mr. Gore about his progress in implementing AB 900, and whether he has accomplished those
"hair on fire" duties assigned to him.

Mr. Gore produced documents showing he kept Ms. Kennedy updated about the AB
900 Strike Team, including by providing detailed updates about the Strike Team's progress in
implementing AB 900 as well as the various "roadblocks" hindering full implementation of the
statute. Evenson Decl., Exh. K. Plaintiffs intend to ask both Mr. Gore and Ms. Kennedy about
the Strike Team's progress, the "roadblocks" it has encountered, and its progress in alleviating
the overcrowding crisis.

Mr. Gore has also produced correspondence indicating he is involved in an effort to
pass AB 900 "clean up" legislation. Evenson Decl, 418, Exhs. O-P. He has stated that he

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hopes that the Legislature will enact "[pJarole reform" as well as "most of the IRP
[Independent Review Panel] and Expert Panel recommendations, including staff training,
program participation incentives, enhanced good time credits, expanded risk assessments and
treatment plans, and more reforms." Evenson Deel., Exh. P at E PREV 171287 (emphasis
added). Mr. Gore entreated former republican Governor George Deukmejian to use his
political clout to convince members of the Republican caucus to go along with the |
administration's legislative agenda. /d. Plaintiffs are entitled to ask Mr. Gore about the
specific reforms he proposes to remedy the overcrowding crisis, what provisions in AB need to
be "cleaned up" and whether AB 900, as it is, will resolve the overcrowding crisis.

Additionally, Mr. Gore has stated that "{e|nhanced parole tools... are the most
immediate way to reduce overcrowding and improve public safety." Evenson Decl., Exh I; see —
also Id, Exh. P. Plaintiffs are entitled to ask Mr. Gore about the factual basis for his
assertions that "enhanced parole tools” will reduce overcrowding, and about how they will
"improve public safety," as these are two key elements in the case.

D. Susan Kennedy has unique personal knowledge of matters critical to plaintiffs’
cause of action and defendants’ defenses

Susan Kennedy is the Governor's chief of staff, and is integrally involved in nearly
everything the Governor does, including the Governor's efforts to address the overcrowding
crisis. Ms. Kennedy has repeatedly described California's prisons as a "powder keg,” stating at
one point that the prisons are part of "a system that is so broken it’s a powder keg," and at
another point that "We have now hit a wall on programming based on overcrowding. We are
now sitting on a powder keg over here.” Evenson Decl., Exh. T at 1, 3. Ms. Kennedy also
admitted that even if the State builds more than 40,000 new prison beds by 2021, 1) “[w]e'll
always be over the design capacity [of the prisons];" and 2) additional funds would be
necessary to fund space for medical treatment and rehabilitation programs. Jd. at 2. She also
acknowledged — in 2006 — that a central element of AB 900 (construction of reentry Lacilities

in local communities) was "never going to be an easy sell." /c. at 3.

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In addition to tracking Mr. Gore's work and the progress of AB 900 implementation (see
supra), Ms. Kennedy also inserted herself into the implementation process, at one point
admonishing the AB 900 Strike Team that it must bring about "radical change" to the prison
system and that “failure is not an option.” Evenson Decl., Exh. H.

It is also apparent that Ms. Kennedy was involved in the Governor's emergency
proclamation and the Governor's budget bill. Plaintiffs are prejudiced in their ability to
demonstrate Ms. Kennedy's involvement in these and other areas in the case because the
Governor's office has yet to produce most of the documents listed on defendants’ privilege log
which pertain to Ms. Kennedy. Nonetheless, defendants' privilege logs on their face
demonstrate Ms. Kennedy's involvement. Ms. Kennedy sent, received, and archived dozens of
letters and memoranda about overcrowding. Evenson Dec., §21, Exh. R. For example,
according to the privilege logs, Ms. Kennedy engaged in correspondence with top officials in
the Schwarzenegger administration and CDCR regarding overcrowding conditions, progress of
the AB 900 Strike Teams. the Governor's budget proposal, prison reform, parole reform:
options, sentencing reform, AB 900 "clean up" legislation, community reentry facilities, prison
construction, and other matters. Evenson Dec., 421, Exh. R. Plaintiffs have yet to receive the
relevant documents, and therefore cannot provide further detail about the contents of the
documents in support of this motion. But the notations in the log itself show that Ms. Kennedy
is deeply involved in the Governor's efforts to address the overcrowding crisis, and her
involvement has given her "direct personal factual information pertaining to material issues"
that "is not available through any other source." Green, 226 F.R.D. at 648.

Hi. Conclusion

For the foregoing reasons, Governor Arnold Schwarzenegger, Robert Gore and Susan
Kennedy should be compelled to appear for depositions as noticed by Plaintiffs. In the event
the deponents are not available on the dates listed on the deposition notice, defendants should
be required to provide plaintiffs with proposed alternative dates within five calendar days of

the Court's order.

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DEFENDANTS' CONTENTIONS

i, Introduction

Defendants do not dispute Plaintiffs' right to take five of the eight depositions they have
noticed. But Plaintiffs’ attempt to depose the Governor, his Chief of Staff, Susan Kennedy, and
his Senior Deputy Cabinet Secretary, Robert Gore runs afoul of federal and California
precedent regarding the depositions of high governmental officials. Such officials enjoy a
form of limited immunity from depositions in both federal and California courts. E.g., Bogan
v. City of Boston, 489 F.3d 417, 423 (st Cir. 2007); Westly v, Super. Court, 125 Cal. App. 4th
907,910 (Cal. App. 2004). To qualify for the sole exception to this immunity, Plaintiffs bear
the heavy burden of demonstrating not only that these Defendants have "direct, personal,
factual information" on relevant issues, but also that Plaintiffs cannot get that information via
other discovery mechanisms or by serving discovery on other persons. £.g., Harmston v, City
and County of San Francisco, 2007 U.S, Dist. LEXIS 87144, *4-5 (N.D, Cal. Nov. 6, 2007)
(Tston, J.).

To meet this burden, Plaintiffs largely rely on repeated claims that the Governor, Ms.
Kennedy or Mr, Gore were "involved" in promulgating or implementing administration
policies designed to reduce prison population, that they discussed, made public statements
about, or attended meetings about such policies, or that they have "unique" information. These
assertions are woefully insufficient. Much of the information Plaintiffs seek is simply not
relevant to the factual issues in this case. Moreover, Plaintiffs have not demonstrated that the
information they seek is not available from other sources. In fact, as Defendants demonstrate
below, all of the relevant information Plaintiffs seek to gain by these depositions is available
through alternative sources. Indeed, Plaintiffs have already obtained a substantial amount of
information on these topics through prior discovery.

Additionally, by order of the Three-Judge Court on July 2, 2008, depositions of non-
testifying witnesses were prohibited absent a showing of "very good cause." Neither Plaintiffs’
initial disclosures nor their supplement to their initial disclosures listed Governor

Schwarzenegger, Ms. Kennedy, or Mr. Gore as individuals likely to have discoverable

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information. (Declaration of Paul Mello in Support of Joint Statement Regarding Discovery
Dispute (Decl. Mello), Exs. A & B.) However, following the Court's July 2, 2008 order
barring the deposition of non-testifying witnesses, Plaintiffs suddenly informed Defendants in
the course of meet and confer efforts of Plaintiffs' intent to list the Governor, Ms. Kennedy,
and Mr. Gore as testifying witnesses, (Decl. Mello, 4.) This convenient alteration to
Plaintiffs’ trial witnesses is merely a technique to evade the Court's July 2, 2008 order requiring
the very good cause showing.

This situation does not justify an exception from the general rule against deposing
Governors and cabinet officers, nor should Plaintiffs be excused from this Court's "very good
cause" showing requirement, which Plaintiffs are unable to demonstrate. Accordingly, this
court should deny Plaintiffs’ request to compel these depositions, and should instead vacate
Plaintiffs’ notice of deposition as to the Governor, Ms. Kennedy, and Mr. Gore.

I. Argument

As Plaintiffs acknowledge, high public officials are by default not subject to deposition
for their official actions. E.g., Bogan v. City of Boston, 489 F.3d 417, 423 (ist Cir. 2007); In
re United States, 985 F.2d 510, 512 (11th Cir. 1993); In re Office of Inspector General, 933
F.2d 276, 278 (Sth Cir. 1991); Simplex Time Recorder Co. v. Secretary of Labor, 766 F.2d 575,
586 (D.C. Cir. 1985); Green v. Baca, 226 F.R.D. 624, 649 (C.D. Cal. 2005); Harmston v. City
and County of San Francisco, 2007 U.S, Dist. LEXIS 87144, *4-5 (N.D. Cal. Nov. 6, 2007)
(Illston, J.}; see also Kyle Eng. v. Kleppe, 600 F.2d 226, 231 (9th Cir. 1979) ("{H]eads of
government agencies are not normally subject to deposition."). This is so even when the
official sought to be deposed is a named defendant in the case. See, e.g., Kyle, 600 F.2d at 231.
Courts reason that they should not allow "the constant interference of the discovery process" to
disrupt the work of high government officials. Green, 226 F_R.D. at 648. California State
Courts have also uniformly adopted this rule. E.g., Westly v. Super. Court, 125 Cal. App. 4th
907, 910 (Cal. App. 2004) (refusing to permit depositions of state Attorney General and
Controller); Nagle v. Super. Court, 28 Cal. App. 4th 1465, 1467-68 (1994) (granting protective

order prohibiting depositions of Director of Employment Development Department and former

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Director of Department of Health Services, and noting that "the heads of agencies and other
top governmental executives are normally not subject to depositions"). As a result, state
Governors and cabinet officers enjoy limited immunity from depositions in both state and
federal courts. E.g., Simplex, 766 F.2d at 586 ("[S]ubjecting a cabinet officer to oral deposition
is not normally countenanced."), Warzon v. Drew, 155 F.R.D. 183, 186 (E.D. Wis. 1994)
(refusing to permit depositions of Governor of Wisconsin and Secretary of Wisconsin
Department of Administration).

Although a limited exception to this immunity exists, Plaintiffs cannot establish the
elements of that exception here. To the extent that Plaintiffs seek to ask the Governor, Ms.
Kennedy, and Mr. Gore about topics relevant to this proceeding, the information they seek is
available through "less burdensome sources." See Trunk v. City of San Diego, 2007 U.S.Dist.
LEXIS 24093, * 21 (S.D. Cal. April 2, 2007). In fact, Plaintiffs already have much of the
information. Thus, the court must prohibit Plaintiffs from taking these depositions.

A. The Governor, Ms. Kennedy, and Mr. Gore are High-Ranking Governmental
Officials and are Therefore Generally Immune from Being Deposed About Their
Official Actions.

The Governor of a state is clearly entitled to claim limited deposition immunity. See
Sweeney v. Bond, 669 F.2d 542, 546 (8th Cir. 1982); see also Deukmajian v. Super. Court, 143
Cal. App. 3d 632, 634 (Cal. App. 1983) (Governor of California not required to give trial
testimony regarding his policies related to prison population). So too are cabinet officers, at
both the federal and state levels. In re United States, 197 F.3d 310, 314 (8th Cir. 1999) (rev'd
on other grounds by United States v. Lee, 274 F.3d 485, 491 (8th Cir. 2001)) (federal Attorney
General and Deputy Attorney General are high governmental officials), Simplex, 766 F.2d at
586; Warzon v. Drew, 155 F.R.D. at 186; Pension Benefit Guaranty Corp. v. LTV Steel Corp.,
119 F.R.D. 339, 343 n.} (S.D.N.Y. 1988) (refusing to allow deposition of Secretary of Labor).

Ms. Kennedy, as the Governor's Chief of Staff, and Mr. Gore, as his Senior Deputy Cabinet

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Secretary, both sit on the Governor's cabinet and are accordingly, like the Governor himself,
entitled to be left to perform their duties without interference from Plaintiffs’ depositions.’
B. Plaintiffs Cannot Establish that the Only Exception to These Officials’ Deposition

Immunity Applies and Justifies the Deposition of the Governor, Ms. Kennedy, and

Mr. Gore.

Litigants may only take a high public official's deposition when that official has
relevant, direct, personal, factual information that is unavailable through any other source.
E.g., Bogan, 489 F.3d at 423; Green, 226 F.R.D. at 648; Church of Scientology of Boston v.
ER.S., 138 F.R.D. 9, 12 (D. Mass 1990); Harmston, 2007 U.S, Dist. LEXIS 87144, *4-5. State
courts in California also recognize this exception to high officials’ deposition immunity. See,
e.g., Westly, 125 Cal. App. 4th at 910; Nagle, 28 Cal. App. 4th at 1467-68.

Plaintiffs concede that they must show that this exception applies here in order to take
these depositions. Supra, 3:20-22. They fail to acknowledge, however, the crucial fact that
"any other source” for the purposes of this exception includes not only other persons, but also
interrogatories, requests for admission, and other written discovery propounded on the official
sought to be deposed, E.g., Kyle, 600 F.2d at 231 (interrogatories a valid substitute for
deposition of agency head); Harmston, 2007 U.S. Dist. LEXIS 87144, *7-8 (interrogatories
and requests for admission a valid substitute for deposition of mayor); Trunk, 2007 U.S.Dist.
LEXIS 24093, * 21 ("written discovery” may validly substitute for deposition of mayor).
"Any other source” also encompasses the depositions of other, lower-ranking officials. /n re

United States, 985 F.2d at 512 (refusing to allow deposition of FDA Commissioner;

> Cases Plaintiffs cite in which courts allowed depositions of mayors or lower federal
governmental officials are inapposite. As several of the courts in cases cited by Plaintiffs
noted, the policy justifications for exempting lower-level officials from depositions are less
than for senior executives or cabinet-level officers. See Jn re: Kessler, 100 F.3d 1015, 1017-
1018 (D.C, Cir. 1995) (noting that FDA Commissioner was "at least three levels down from
the Secretary of HHS"); Green, 226 F.R.D. at 649 n. 50 (distinguishing case involving sheriff
from cases involving “high ranking state and federal executive officers"); Resolution Trust
Corp. v. Diamond, 137 F.R.D. 634, 645 (S.D.N.Y. 1991) (noting that head of RTC "is not the
Secretary of Labor" and that the RTC was “unlike the Department of Labor, which is a large
cabinet-level executive department with many functions”).

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department heads within FDA had the information sought and their depositions sufficed),
Sweeney, 669 F.2d at 546 (refusing to allow deposition of Governor of Missourt because
information might be available from other officials). Thus, where the seeker can get the
information through any other discovery, whether propounded on the oftictal or on others, the
exception does not apply. See Bogan, 489 F.3d at 423 ("[D]iscovery is permitted only where it
is shown that other persons cannot provide the necessary information.").

Moreover, the party seeking the deposition bears the burden of showing that he or she
cannot obtain the information elsewhere. Church of Scientology, 138 F.R.D. at 12 (granting
protective order because Plaintiff "ha[d] not satisfactorily demonstrated that the information
sought cannot be gained through an alternative source."); Trunk, 2007 U.S, Dist. LEXIS 24093
at * 21 (refusing to allow deposition when "Plaintiff ha[d] not demonstrated” that the
information is not otherwise available), Some courts have also required a showing that the
deposition testimony is "essential" to the seeking party's case. See Sweeney, 669 F.2d, at 546 ;
Warzon, 155 F.R.D. 185,

To obtain these depositions, Plaintiffs must therefore not only show that the Governor,
Ms. Kennedy, and Mr. Gore have the information they seek but also that they cannot get that
information from other persons or through other discovery mechanisms.° They cannot do so,

for reasons explained below.

® Although courts have in a few cases allowed depositions of governors, the governors in those
cases, unlike here, personally made a single, specific decision or took a specilic action that was
alleged to be contrary to law or was alleged to have directly violated the plaintiff's rights,
Bagley v. Blagojevich, 486 ¥, Supp. 2d 786 (C.D. TL 2007) (Governor line-item vetoed
funding for Ps' job classification and later took personal credit for decision); Prisma Zona
Exploratoria de Puerto Rico, Inc. v. Calderon, 134 1", Supp. 2d 245 (D.P.R. 2001) (governor
refused to disburse specific funds earmarked for plaintiff}; Virgo Corp. v. Paiewonsky, 39
F.R.D. 9, (D.V.I. 1966) (governor imposed "watch quota" challenged by plainuff; whether to
impose such quotas was "solely within the discretion of the Governor"). Thus, the plaintiffs in
those cases could reasonably argue that the Governor was the only source for the information
about that decision. Here, in contrast, Plaintiffs do not allege that the Governor or Ms.
Kennedy or Mr. Gore were personally responsible for any single action that violated their
rights. Rather, they allege that the condition of the system as a whole violates their rights. As
a result, as described below, numerous other officials are also involved in and have knowledge
of the actions and conditions Plaintiffs seek to question these officials about.

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I. To the Extent Plaintiffs Seek to Depose the Governor, Ms. Kennedy, and Mr,
Gore About Relevant Subjects About Which They Have Direct, Personal Factual
Knowledge, That Information is Available ‘Through Other Sources.

In their portion of this joint statement, Plaintiffs repeatedly insist that these depositions
are "critical" to Plaintiffs’ case because the Governor, Ms. Kennedy, and Mr. Gore have
"unique" knowledge on a variety of topics. This is simply untrue. Plaintiffs can obtain the
information they seek by deposing other officials or by propounding written discovery on those
officials or on the Governor. Defendants do not oppose the depositions of lower-ranked
officials, and in fact have cooperated with Plaintiffs in scheduling such depositions. (Decl.
Mello, Ex. E.) Nor do Defendants seek to prevent Plaintiffs from propounding proper written
discovery on any Defendant. Moreover, Plaintiffs already possess significant information on
several of Plaintiffs' purported deposition topics.

Lower-ranking state officials have greater personal knowledge of the Plaintiffs’
purported deposition topics than do the Governor, Ms. Kennedy and Mr. Gore, The
Governor's decisions regarding his Emergency Proclamation and AB900 were based on factual
information supplied by his subordinates. The same is true for Ms, Kennedy and Mr. Gore.
Plaintiffs should therefore be required to seek written discovery from the Governor or depose
these lower-ranking officials in lieu of deposing the Governor, Ms. Kennedy and Mr. Gore.

See Pension Benefit Guaranty Corp., 119 F.R.D. at 343 n.1. (refusing to allow deposition of

| Secretary of Labor when party seeking deposition did not show that the Secretary had

information available to him that did not originate with his subordinates).

Plaintiffs cite authority from the District of Columbia for the proposition that
depositions are the most efficient means of discovery and are more reliable because they are
taken under oath. (Supra, at 43-7). This citation is irrelevant, both because the individual
involved in that case was not a cabinet level official, and because the court found that he was
the "sole person” with the information sought. American Broadcasting Co., 599 F. Supp. at
769, As described above, courts have routinely stated that depositions of high-level officials
are only permitted if the information cannot be obtained through any other source. £.g., /n re

United States, 197 F.3d 310, 314 (8th Cir, 1999) (rev'd on other erounds by United States v.

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Lee, 274 F.3d 485, 491 (8th Cir, 2001)); Westly v. Super. Cr, 125 Cal. App. 4th 907, 911 (Cal.

- App. 2004); see also, e.g., Kyle Eng. Co., 600 F.2d 226, 231 (9th Cir. 1979); Green v. Baca,

226 F.R.D. 624, 648 (C.D. Cal. 2005); Harmston v, City and County of San Francisco, 2007
U.S. Dist. LEXIS 87144, *7-8 (N.D. Cal. Nov. 6, 2007). Neither the Governor, Ms. Kennedy,
nor Mr. Gore are the "sole person" responsible for any of the state's population reduction
policy initiatives. Furthermore, as described below, Plaintiffs may obtain sworn statements
regarding the topics at issue from other sources, such as interrogatories or depositions of other
officials.

More specifically, to the extent Plaintiffs seek information about the population
reduction proposal in the Governor's 2008-2009 proposed budget, this information is available
from Defendant Cate or other CDCR officials, Plaintiffs' conclusory assertion that the
Governor has unique personal information on this subject because he "offered the plan”
borders on the absurd. Plaintiffs cannot reasonably contend that the Governor develops his
budgets entirely by himself based on facts of which only he is aware. Plaintiffs may also ask
Secretary Cate or other CDCR officials what additional measures Defendants believe may
reduce the prison population, and how such measures may impact overcrowding. And in fact
Plaintiffs have noticed the depositions of both Secretary Cate and CDCR's Chief Deputy
Secretary of Adult Operations, Scott Kernan. Both Secretary Cate Mr. Kernan are
knowledgeable about these topics and are more familiar with specific facts about them than the
Governor, Ms. Kennedy, or Mr. Gore. Furthermore, Defendants do not contest Plaintiffs’
notice of Secretary Cate or Mr. Kernan's depositions, are answering the three sets of
interrogatories the Plata and Coleman Plaintiffs have propounded on Secretary Cate, and will
answer any other written discovery properly propounded on him. (Decl. Mello, Exs. F, G, &
H.)

Similarly, Plaintiffs seek information about AB900 implementation and the progress of
the AB900 Strike Team. They may obtain this information from several other Defendants they
plan to depose, including Ms. Jett, Ms. Petersilia, Mr. Kernan, and Ms, Hysen. Ms. Jett, Ms.

Hysen, and Secretary Cate may also be knowledgeable about possible AB900 cleanup

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legislation. Again, these officials are at least as familiar, and probably more familiar, with
specific facts on these topics as the Governor, Ms. Kennedy, and Mr. Gore.

Plaintiffs may also obtain much of the information they seek by propounding additional
written discovery on the Governor and the other named Defendants, Plaintiffs may propound
interrogatories to ask about the progress of the AB900 strike team, AB900 clean-up legislation,
enhanced parole tools, overcrowding, or the factual basis for keeping the Governor's
Emergency Proclamation in effect.

In fact, Plaintiffs have already propounded interrogatories on some of these topics. For
example, Coleman Plaintiffs have already propounded twenty-five interrogatories about the
Emergency Proclamation on the Governor. (Decl. Mello, Ex. I.) These interrogatories asked
the Governor about the current status of each of the various problems identified in the
Proclamation, and requested all facts and identification of documents supporting the answers.
(id.) Similarly, Coleman Plaintiffs recently asked Secretary Cate a number of interrogatories
about public safety concerns, and five interrogatories about changed conditions in the state
corrections system. (/d. at Exs. F & G.) Plata Plaintiffs too propounded interrogatories on
Secretary Cate inquiring into changed prison conditions, (/d. at Ex. H.) To the extent
Plaintiffs seek to ask the Governor, Ms. Kennedy, and Mr. Gore the same questions, the
depositions would be duplicative. If Plaintiffs seek updated or different information on these
topics, they may issue more written discovery.

Defendants have also produced over 500,000 pages of documents to date on a variety of
topics from a number of different custodians at various levels of state government. Ironically,
Plaintiffs have attached a number of these documents as exhibits to this joint statement,
purportedly to demonstrate that they must depose the Governor, Ms. Kennedy and Mr. Gore to
obtain certain information. But the documents actually demonstrate that Plaintiffs can obtain
substantial information on these topics via document production requests, and further, that they
already have such information. For example, Plaintiffs claim that they must question Mr. Gore
and Ms. Kennedy in order to obtain information about the progress of AB900 implementation,

Supra, 9:18-20; 11:1-2. Yet Plaintiffs have noticed the deposition of Deborah Hysen, Chief

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Deputy Secretary of Adult Operations at CDCR, whose duties include, among others,
overseeing AB900 construction and implementation. Mr. Kernan and Secretary Cate are
similarly knowledgeable regarding the progress of AB900 implementation, and have also been
served with deposition notices. Exhibits L through P to Ms. Evenson’s declaration similarly
contain detailed information about AB900 implementation and cleanup. These documents
belie Plaintiffs' claim that they are unable to obtain the information through “any other source.”
See Trunk, 2007 U.S. Dist. LEXIS 24093, *21-22 ("Plaintiff's exhibits in support of his request
to Compe! demonstrate that he has a significant amount of source material available to him ...
Accordingly, the information Plaintiff seeks through deposition will be unnecessarily
duplicative.")

2. Several of Plaintiffs’ Proposed Deposition Topics Are Not Relevant to the Issues
in This Proceeding.

Plaintiffs apparently intend to ask the Governor, Ms. Kennedy and Mr. Gore about their
political roles in developing and recommending various proposals and their personal beliefs
regarding the prospects for the success of these proposals. E.g., supra, 10:9 (proposing to ask
Mr. Gore "whether AB900, as it is, will resolve the overcrowding crisis”). ‘They contend that
this information justifies the depositions. Supra, 3:15-16 (arguing that Plaintiffs should be
permitted to take the depositions "[bJecause the Governor, Mr. Gore, and Ms. Kennedy played
central roles in identifying and attempting to address the overcrowding crisis”). That argument
must fail.

The Three-Judge Court must decide de novo whether Plaintiffs can prove, by clear and
convincing evidence, that crowding is the primary cause of a violation of Plaintiffs’ rights and
that no other relief will remedy the violation. 18 U.S.C. § 3626(a)(3)(A)G)-Ci). Facts
surrounding proposed or actual programs, as well as expert opinions, may assist the court in
deciding these issues. But the Governor, Ms. Kennedy and Mr. Gore are non-expert parties.
How they developed their proposals and their subjective and personal beliefs about these

roposals' prospects for success, have no bearing on the court's decision. Any questioning that
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does not directly relate to specific facts regarding specific programs or proposals is therefore
irrelevant.

Thus, for instance, these Defendants’ political "involve[ment]" in AB900 passage and
implementation does not matter to Plaintiffs' case. Nor do the details of Mr. Gore's political
participation in the AB900 strike team, nor the Governor's personal beliefs about whether
AB900 will achieve its goals. What matters instead are the actual facts surrounding AB900
implementation. Because the exception to high officials’ deposition immunity requires that the
information sought be "material," Plaintiffs cannot invoke the exception based on proposed
questioning about these Defendants' political roles or personal beliefs.

HI. Conclusion

Litigants are not entitled to depose high-ranking state officials unless they can show that
those officials have direct, personal, factual information unavailable elsewhere. Plaintiffs
cannot meet that standard here, because any relevant information they seek is available through
depositions of lower-ranking officials, written discovery, and documents already produced.
Additionally, Plaintiffs may not attempt to circumvent the Court's July 2, 2008 order requiring
a showing of "very good cause" by suddenly listing the Governor, Ms. Kennedy, and Mr. Gore
as witnesses, when Plaintiffs have never identified these individuals in the course of their
initial disclosures or in their supplemental initial disclosures as individuals likely to have
discoverable information. This court should therefore deny Plaintiffs’ request to compel these
depositions and vacate Plaintiffs’ notice of deposition as to the Governor, Ms. Kennedy, and
Mr. Gore.

PLAINTIFFS' REPLY STATEMENT

I. Introduction

Defendants concede that it is appropriate to take the deposition of a governor or other
high level official where the official has personal knowledge of relevant information that is
unavailable through another source. Supra at 15. Specifically, defendants concede that it was
appropriate to depose a governor under the following circumstances: |) the governor "line~

item vetoed funding for [plaintiff's] job classification and later took personal credit for the

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decision,” 2) the "governor refused to disburse specific funds earmarked for plaintiff", and 3)
the "governor imposed ‘watch quota’ challenged by plaintiff" where the decision "whether to

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impose such quotas was ‘solely within the discretion of the Governor." See supra at 16, n.6
(citations omitted), Those factual scenarios are al] analogous to the case at hand; here, the
Governor is the ultimate decisionmaker about prison policy, and he, Mr. Gore and Ms.
Kennedy have personally taken specific acts — and made public statements ~ showing that they
have personal knowledge of matters critical to plaintiffs' case and defendants’ defenses.

For example, the Governor submitted a budget proposal that contemplates releasing
more than 22,000 prisoners, while at the same time the Governor is claiming in this case that
releasing prisoners would adversely affect public safety; the Governor's public and private
statements that AB 900 is in need of "clean up" legislation contradicts his litigation position
that AB 900 is a panacea for the overcrowding problem, and the Governor's continued
effectuation of the emergency proclamation contradicts his apparent litigation position that
conditions are improving and the prison conditions do not pose an immediate risk to inmate
health. Similarly, the evidence demonstrates that Mr. Gore and Ms. Kennedy have been
intimately involved in the details of certain of the Governor's efforts to address overcrowding.
Supra at 9-11. Indeed, just last week Mr. Gore submitted a declaration stating that "the Office
of the Governor has actively addressed prison litigation and reform issues," that he is “familiar
with AB 900 and other prison reform efforts launched by the Administration," and that he and
Ms. Kennedy have both produced documents "providing detailed analyses of issues and events
currently pending and anticipated at CDCR." Evenson Decl, Exh. U at §§5, 12(a) (emphasis
added).

Under circumstances like these, courts regularly approve the deposition of governors

and other high level officials, and there is very good cause to take the deposition of the

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Governor, Ms. Kennedy and Mr.Gore. ’

Defendants do not contest that the Governor, Mr. Gore and Ms. Kennedy have personal
knowledge of matters critical to the case, but they contend that plaintiffs should be restricted to
inquiring into these matters via interrogatories, or by deposing CDCR officials who don't even
work in the Governor's office. For the reasons set forth below, those arguments should be
rejected.
fl. Argument

A. Interrogatories are not an adequate substitute for a deposition

Defendants' main contention is that there is no need to depose Governor
Schwarzenegger, Mr. Gore, or Ms. Kennedy because plaintiffs can get all the information they
need from interrogatory responses. But the courts have long recognized that interrogatories are
no substitute for depositions. That is because "[a]t a deposition the examining party has great
flexibility and can frame his questions on the basis of answers to previous questions.
Moreover, the party being examined does not have the opportunity to study the questions in
advance and to consult with his attorney before answering, as he does if interrogatories are
used. Attempts at evasion, which might be met by a persistent oral examination, cannot be
easily dealt with by interrogatories." Richlin v. Sigma Design West, Lid., 88 F.R.D. 634,

637 (C.D.Cal. 1980). In comparison, "[t]he flexibility and the potency of oral depositions is in

; Defendants contend that plaintiffS need to show "very good cause" for taking the

depositions because the Governor, Mr. Gore and Ms. Kennedy are not really trial witnesses,
As we explain, plaintiffs have amply demonstrated such "very good cause." Butit is not
necessary to do so. Plaintiffs intend to designate each of the deponents as trial witnesses,
obviating the "very good cause” standard.

Defendants complain that plaintiffs did not previously identify the Governor, Mr. Gore
or Ms. Kennedy on their Rule 26(a) disclosures. But this is a red herring. Plaintiffs’ initial
disclosures referred to all defendants as potential witnesses. Mello Deel., Exh. A. The
Legislative Intervenors' initial disclosures specifically listed Governor Schwarzenegger, Susan
Kennedy and Robert Gore as potential witnesses, Evenson Decl.; Exh.S. Accordingly,
plaintiffs have assumed that the Governor, Ms. Kennedy and Mr. Gore would be witnesses in
this case, and, indeed, plaintiffs expect to present testimony from them in their case in chief,
Evenson Decl, 42. Under Rule d6le (LA). there was no need for plaintiffs to supplement
their disclosures with information about witnesses who had otherwise "been made known to
the other parties during the discovery process or In writing."

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large part lacking in written interrogatories. It is for these reasons that depositions are, in
federal court at least, by far the most widely used of the discovery devices.” /d See also
Rutter, Cal. Prac. Guide Fed. Civ. Pro. Before Trial, Ch. 11(7V)-B, §11:1662 ("Answers to
interrogatories are normally prepared by or with the assistance of opposing counsel, who
usually read the questions narrowly and provide as little information as possible, There is little
likelihood of unguarded responses; nor any chance for follow-up questioning.”)

Defendants’ own interrogatory responses illustrate this point, In response to direct
questions about the factual underpinnings for their contentions in this case, defendants provide
vague, evasive, lawyerly-worded answers that lack substance or detail. See, e.g., Evenson
Dec]., Exh. V (in response to numerous different questions regarding the impact on public
safety of a prisoner release order, prisoner "diversion" programs, parole reforms, the
Governor's proposal to release 22,159 inmates, and others, CDCR Secretary Matthew Cate
recites nearly identical, vague answers: "there remains the possibility of a prisoner engaging in
criminal activity under such a program.") For plaintiffs to serve more interrogatories, and
accept more vague, evasive responses, is no replacement for sitting in the same room with the
defendant and asking direct questions and follow-up questions.

Moreover, the type of inquiry that plaintiffs need to make ~ inquiring into contradictions
between the Governors’ out-of-court actions and his litigation position, or delving into the
meaning of Ms. Kennedy's statements that the prisons are a "powder keg" -- are not well-suited
to interrogatory. These are matters that will require answers from the parties (not the lawyers)
and will almost certainly require follow-up questions.

Defendants cite Kyle Engineering Co. v. Kleppe, 600 F.2d 226, 231 (9" Cir. 1979) and
Trunk v. San Diego, 2007 WL 1110715 (S.D. Cal. 2007) to support their contention that
interrogatories are an appropriate substitute for a deposition of an official with personal
knowledge of relevant facts. But neither case stands for this point.

In Kyle Engineering, the court noted in passing that it was not "unreasonable" for a
district court to order an agency head to answer interrogatories in lieu of a deposition, but

nothing in the opinion analyzes the question or even indicates whether the official had any

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personal knowledge of the issues in the case (i.e. whether he even qualified as a deponent).

Kyle Engineering, 600 F.2d at 231.

In Trunk, a plaintiff brought an Establishment Clause challenge to a city's transfer of a
monument to the federal government, and needed to demonstrate that the legislature had an
illicit purpose in effectuating the transfer. The plaintiff sought to depose the city mayor to
determine his motive for supporting the transfer. But the court found that the mayor's
subjective motive was irrelevant and the mayor's deposition was therefore inappropriate. Jd. at
*5-6. The only relevant information was the official legislative history, and the court found
that the plaintiff could obtain the relevant legislative history documents through written
discovery. id. at *7. The case does not support the contention that interrogatories are an
appropriate substitute for the deposition of a witness with relevant information.

Nor does Harmston y. City and County of San Francisco, 2007 U.S. Dist. LEXIS
87144, *4-5 (N.D. Cal. Nov. 6, 2007) hold, as defendants assert, that "interrogatories and
requests for admission a valid substitute for deposition of mayor." Supra at _. In Harmston,
the evidence showed that the mayor did not have any personal knowledge of the facts at issue;
the public official who was knowledgeable (the chief of police) had already been deposed.
Harmston at *2-3. And the court noted in passing that the plaintiffs hadn't served any
interrogatories on the mayor seeking to find out if he had relevant information. /d. That is a
far cry from holding that interrogatories are "a valid substitute" for a deposition of a
knowledgeable official,

In the case at hand, plaintiffs have pursued document requests and interrogatories aimed
at learning as much background information as possible about the various defendants’ actions.
The written discovery has laid the groundwork, but at this stage, plaintiffs need to take
depositions to discover matters that are within the personal knowledge of the Governor, Mr.
Gore and Ms. Kennedy. That information cannot be learned by asking more interrogatories or

gathering more documents.

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B. No other witnesses have the relevant information sought

Defendants also contend that "lower-ranking” officials would have the information
sought from the Governor, Mr. Gore and Ms. Kennedy. But defendants do not identify a single
member of the Governor's staff who has the same knowledge as the Governor, Mr. Gore and
Ms, Kennedy about the salient matters and who would be available for deposition. Nor are
plaintiffs aware of anyone with such knowledge.

The cases defendants cite stand for the proposition that it is appropriate to depose a
lower-ranking official if that person has the same relevant knowledge as the high-level
decisionmaker. In Pension Benefit Guaranty Corp. v. LTV Steel Corp., 119 F.R.D. 339, 343
(S.D.N.Y 1988), the court allowed a party to take the deposition of one high ranking official,
the executive director of the Pension Benefit Guarantee Corporation (PBGC), who had relevant
personal knowledge of the facts, but not the Secretary of Labor because the party failed to
make “any showing" that the Secretary had any information that was not generated by the
PBGC. And in Jn re United States, 985 F.2d 510 (11" Cir. 1993), the court refused to allow a
defendant to depose FDA Commissioner Kessler about his selective prosecution defense
because Dr. Kessler was not even Commissioner at the time of the events at issue, and in any
event the court identified other individuals who would have knowledge of the precise questions
the defendant sought to ask. In Sweeney v. Bond, 669 F.2d 542, 546 (8" Cir., 1982), the
plainuffs apparently sought to depose the governor (though the opinion does not say why) and
the court found nothing more than that the plaintiffs had failed to demonstrate the requisite
need for the depositions and the district court "did not abuse its discretion in requiring

plaintiffs to show specific need for the information.”®

* In Bogan v. Boston, 489 F.3d 417, 424 (1 Cir. 2007), cited by defendants, the court
specifically found that the plaintiff should have deposed a mayor's top aides about what the
mayor knew, after which a deposition of the mayor might be appropriate. In the case at hand,
defendants seek to prevent plaintiffs from even deposing the Governor's aides (Ms. Kennedy
and Mr. Gore), and there will be no time for further depositions because the discovery cutoff is
September 8, 2008.

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None of these cases support the defendants! position that it is appropriate to substitute
someone who does not have personal knowledge for a public official who does. Defendants
claim that CDCR secretary Matt Cate is an appropriate stand-in, but they fail to note that Mr.
Cate became CDCR secretary on May 16, 2008 (see CDCR website,

http:/Avww.cder.ca.gov/About_ CDCR/cate.html (site last vistted 7/30/08), nearly two years

after the Governor issued his 2006 emergency proclamation, more than one year after AB 900
was signed into law, and several months after the Governor submitted his January 2008
proposed budget. Mr. Cate was not privy to the factual bases for any of those decisions, nor to
what alternatives the Governor considered. Indeed, Mr. Cate's litigation position is directly
contrary to Mr. Gore's and the Governor's. Compare Evenson Decl, Exh. I (Gore states that
"lejnhanced parole tools... are the most immediate way to reduce overcrowding and improve
public safety") and /d. Exh. Q (Governor's proposal to reduce prison population by 22,159
inmates) with Id., Exh. V (Cate asserts that parole reform and Governor's budget proposal
would have an adverse impact on public safety).

Nor will Scott Kernan, Kathy Jett, Deborah Hysen or Joan Petersilia be appropriate
substitutes for the Governor, Mr. Gore or Ms. Kennedy. None of those individuals worked in
the Governor's office. Accordingly, those individuals cannot identify the factual underpinnings
for the Governor's actions or the factors he considered in declaring a state of emergency,
meeting with key decisionmakers about drafting or passing AB 900, or proposing the January
2008 budget. Indeed, Dr. Petersilia is merely a consultant to the state, and an identified expert
witness for the defense in this case. Evenson Dec., 426. She is certainly not a stand-in for the
Governor,

The Governor, Mr. Gore and Ms. Kennedy are the only individuals who possess the
relevant information plaintiffs seek. Plaintiffs have identified specific positions that the
Governor, Mr. Gore and Ms, Kennedy have taken that are directly relevant to the elements of
the case. No-one else can explain the contradictions between the Governor's out-of-court

statements and his litigation position; no-one else can identify the alternative programs that the

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governor considered appropriate means to reducing the prison population; no-one else can
explain the Governor's proposal for fixing AB 900.

Plaintiffs need to inquire into the circumstances of the underlying facts, decisions, and
apparent contradictions in order to effectively present their case.

C. Defendants' relevance objections are meritless

Defendants contend that some (but not all) of the questions plaintiffs propose to ask are
not relevant on the grounds that the Three-Judge Court, not the Governor, will decide the
ultimate questions whether overcrowding is the primary cause of a constitutional violation,
whether AB 900 will remedy the violation, and whether releasing prisoners would adversely
affect public safety. While this is obviously true, it is not a reason to preclude plaintiffs from
inquiring about those matters. ‘The Governor is a defendant in this action, and any concessions
he makes as to the factual disputes in the case are admissible evidence. Moreover, the factors
that the Governor considered in making his assessments and decisions are also relevant; for
example, it is relevant whether he considered the impact on public safety of his proposal to
release 22,000 prisoners, and if so, what facts or analyses he considered.

Plaintiffs will be prejudiced in their ability to present their case if they cannot inquire
into such basic factual matters.
IU. Conclusion

For the reasons set forth herein, plaintiffs respectfully request that the court order
Governor Schwarzenegger, Robert Gore and Susan Kennedy to appear for their depositions as
noticed, or, if those dates are inconvenient, to propose alternative dates within five calendar

days of the Court's order.

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Respectfully submitted,
Dated: August 1, 2008

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